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(Revised03/2020)

                                   IJN ITED STA TES D ISTRIC T C O U RT
                                   SO U TH ER N D ISTR ICT O F FLO R ID A

                            A PPE AR AN CE B O N D :

                                     cAsE xo.:,1i - i O 1-10 - C@-Y D LA

UN ITED STA TES O F A M ERICA :
                      Plaintiff,
                                                           usM #: oaqs oa - G/tp
N)NN (-M GONR,ALt
                D'?-Dr BA f.b tL
                               -& 1
                     D efendant,
                                            /

1,thetmdersigneddefendantand1orwe,theundersignedstlreties,jointly and severallyaclcnowledgethatweand
otlrpersonalrepresentativesrjointlyandseverally,areboundtopaytheUnitedSGtesofAmericaathesum of
$ rGO)(7'00 .,1D                   f<$SbNA't-. $o:               %O/%U
                                   STAN D A RD C O N DITIO N S O F BO N D

The conditions ofthis bond are thatthe defendant:

    1. Shallappear before this Courtand atsuch other places as the defendant m ay be required to appear,in
accordance w ith any and a11orders and directions relating to the defendant's appearance in this case,including
appearance forviolation ofa condition ofthe defendant'srelease as m ay be ordered ornotified by thisCourtor
any otherUnited StatesDistrictCourtto w hich the defendantm ay beheld to answ erorthe cause transferred.The
defendantisrequired to ascertain from the Clerk ofCoul'tc?r defense counselthe tim e and place ofa1lscheduled
procerdingsonthe case. In no eventmay adefendantassllm ethathisorhercase hasbeen dism issed lmlessthe
Courthasenteredanorderofdismissal.Thedefendantistoabidebyaly judgmententeredinsuchmatterby
surrenderingtoserveany sentenceimposedandobeyinganyorderordirectloninconnectionwithsuchjudgment.
This is a continuing bond,including any proceeding on appealorreview ,w hich shallrem ain in f4zllforce and
effecttm tilsuch tim e asthe Courtshallorder otherwise.

   2. M ay nottraveloutside the Southem D istlictofFlorida unless otherw ise approved by the Courtpriorto
any such travel. The Southem D istrictofFlorida consistsofthe follow ing counties: Brow ard,H ighlands,lndian
River,M artin,M inm i-D ade,M onroe,Okeechobee,Palm Beach and St.Lucie.
    3. M ay notchange his/herpresentaddresswithoutpriornotification and approvalfrom the U.S.Probation
Officerorthe Court.

   4. M ust cooperate w ith law enforcem ent ofticers in the collection of a DN A sam ple if the collection is
required by 42 U .S.C.Section 14135a.

    5. M ustnotviolate any federal,state or local1aw w llile on release in this case.Should the defendantcom e
in contactw ith law enfbrcem enthe/she shallnotify the U .S.Probation Officerw itltin 72 hours.
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                                                         PAGE
                                                            ENUMB
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                                   SPECIM UCO ND ITIO N S O F BO N D

ln addition to compliance with the previously stated conditionsof bond,the defendantmustcom ply with the
spec' lconditions checked below :

    a.Surrendera1lpassportsand traveldoctzm ents,if any,to PretrialServices and notobtain any traveldocum ents
      during the pendency ofthe case;
    b.Repol toPretrialServicesasfollows:( asdirectedor timets)aweekinperson and                  timets)aweekby
     telephone;
   c.Subm itto substance abuse testing and/ortreatm ent,contributeto the costofservicesrendered based on ability
     to pay,asdetermined by theU .S.Probation Officer;
   d.Regnin 9om        excessive OR       abst in from alcoholuse or any tlse ofa narcotic dnlg orotherconkolled
     substnnce,asdefinedinsection 102oftheControlledSubstancesAct(21U.S.C.j802),withoutaprescdptionby
     alicensed m edicalpractitioner'
                                   ,
   e.Participate in a m entalhealth assessm ent and/or treatm ent and contribute to the costs of services rendered
     based on ability to pay,asdeterm ined by the U .S.Probation O fficer;
   f.Employmentrestrictionts):                                                                                    -



   g.M aintain oractively seek full-tim eemployment;
   h.M aintain orbegin an educationalprogram ;
   i.A void a11conG ctw ith victim s orw itnesses to the crim es charged,exceptthrough colm sel. The AU SA shall
     provide defense cotm sel and pretrial services w ith the nam es of a1l victim s or w itnesses. The prohibition
     againstcontact does not take effecttmtil defense counsel receives the list.The prohibition against contact
     applies only to '
                     those persons on the list,butthe prosecutor m ay expand the listby sending w ritten notice to
     defense counseland pretrialservices.;
   j.Avoida11contactwithco-defendantsanddefendantsinrelatedcases,exceptthrough counsel;
   k.Refrainfrom possessingafireann,deskuctivedeviceorotherdangerousweaponsandshallsurrender(ifanyl,
     theirconcealed weaponsperm ittotheU .S.Probation Office;
   1.N one ofthe signatories m ay sell,pledge,m ortgage,hypothecate,encllm ber,etc.,any realproperty they ow n,
     untilthebond isdischarged,orotherwisem oditied bythe Courq
   m .M ay notvisitcom m ercialtransportation establishm ent:aip orts,seaporfm arinas,com m ercialbusterminals,
      train stations,etc.;
   n. Defendant shall consent to the U .S.Probation Oo cer conducting peliodic unnnnounced exnm inations of the
      defendant's com puterequipm entathis/her place ofem ploym entor on the com puterathis/her residence which
      mayincluderetrievaland copyingofall(1a.
                                            + âom thecomputerts)and any internalorextemalperipheralsto
      ensure com pliance w1t11this condition and/or rem ovalof such equipm entfor the purpose of conducting a m ore
      thorough inspection;and cozksentatthe direction ofthe U .S.Probation Ofticertohaveinstalled on thedefendant's
      computerts),atthedefendant'sexpense,anyhardwareorsoftwaresystemstomonitorthedefendant'scomputer
      tlse'
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    o.LO CA TIO N M O M TO RIN G PR O G RA M : The defendant shall be m onitored by the form of location
      monitoring and shallabideb 11technology requirementsasnoted below,aswellascone buteto thecostsof
      servicesrenderedbasedon ( )abilitytopay asdeterminedby theU.S.Probation Oë cer- or- ( )paidby
     U .S.Probation;
         Locationmonitoringtech/ology atthediscretion oftheofficer
             adioFrequency (RF)monitoring(ElectronicMonitoring)
         Active GPS M onitoring
         V oice Recognition
         Curfew :You arerestricted to yourresidence every day from       to      ,orasdirected by thesuperdsing
         O    Cer.
                                                      OR
         H o eD etention:Y ou are restricted to yourresidence ata11tim esexceptfor:
         ( )medical
         ( ) stanceabuseormentalhealthtreatment
         ( ourtappearances
         (
         ( attomeyvisitsorcourtorderedeK
                                      obligao
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                                              onsa& JAR'
                                                       /Kn665o.
                                                              a by pjo-wxtaj<evdcmj
              )religiousservices (t a kve
         ( )employment
         ( )otheractivitiesaspre-approvedbythesupervisingofficer
-   p.RESID EN TIA L RE -EN TR Y CEN TER : The defendant shall reside at a residential re-entry center or
      halfwayhouseandabideby alltherulesandregulationsoftheprogram.Thecosttobepaidby ( lpretrial
      Services or ( )based on the defendant'sability to pay.You are restricted to the residentialre-entry
      center/halfway houseatalltimesexceptfor:
      ( )employment
      ( )education
      ( )religiousservices
      ( )medical,substanceabtlse,ormentalhealthtreatment
      ( )attomeyvisits
      ( )courtappearances
      ( )courtorderedobligations
      ( )reportingtoPretrialServices
      ( )Other
-   q.Third-party Custody:                                          w illselwe asa third party custodian and will
      reportany violations ofthe release conditions to the U .S.Probation O fficer. Failure to com ply w ith these
      requirements,thethird party custodian can be subjectto theprovisionsof18U.S.C.j401,Contemptof
      Court.

-
    r.Thedefendantshallsubmithisperson,property,residence,vehicle,papers,computers,(asdefined in 18
      U.S.C.1030(e)(1)),otherelectroniccommllnication ordatastoragedevicesormedia,oroftice,toasearch
      conducted by a Urlited StatesProbation Officer. The defendantm ustw arn any other occupantsthatthe
      premisesmaybesubjecttosearchespursuanttothiscondition.Anysearchmustbeconductedatareasonable
      tim e and in a reasonable m anner.
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                                                     CASE NUm ER:,7X - '& lN o- ç.R-4(-t5L,G
                                                     PAG E Fo UR


s. M andatory Adam W alsh Conditions: Defendant shall abide by specified restrictions on personal
associations,place of abode, or travel,to avoid al1contact w ith an alleged victim of the crim e and w ith a
potential w itness who m ay testify concerning the offense; report on a regular basis to a designated 1aw
enforcementagency,pretrialservicesagencyorotheragency'  ,complywith aspecifiedcurfew (withelectronic
monitoring)andrefrain from possessingatirenrm,destnzctivedeviceorotherdangerousweapons.
t.A dditionalSex Offense ConditionsForD efendants Charced or Convicted ofa SexualOffense:
      1. ( )Defendantmaynothavecontactwithvictimts),oranychildundertheageof18,tmlessapproved
               bythe Cottrtorallowedby theU.S.Probation Officer.
             )Thedefendantshallnotpossessoruseanydataencryptiontechniqueorprogram and shall
               providepasswordsand administrativerightsto the U.S.Probation Officer.
     3.      ) Defendantshallpa/icipateinspecializedsexoffenderevaluation andtreatment,ifnecessary,
               and to contribute to the costs ofservices rendered based on ability to pay,asdeterm ined by
               the U .S.Probation Office.
             )Defendantshallnotpossess,procure,purchaseorotherwiseobtainanyintemetcapabledevice
               and/or com puter.A dditionally,the defendantisprohibited from using anotherindividual's
               com puterordevice thathasintem etcapability.
             )Defendantisprohibitedfrom establishingormaintainingany emailaccotmtorsocialmedia
               account.Additionally,thedefendantisprohibited from usinganotherindividual'semailaccotmt
               orsocialm edia accotm t.M ustprovide m onthly orupon request,personalphone and creditcard
               billings to PretrialServicesto contirm there are no servicesw ith any intem etservicesprovider.
     6.      )Defendantisnotpermittedtoenterplaceswherechildrencongregateincluding,butnotlimited
               to any play areas,playgrounds,libraries,children-them ed restaurants,daycares,schools,
               am usem entparks,cnrnivals/fairs,unlessapproved by the U .S.Probation Officer.
           ( )Thedefendantshallnotbeinvolvedinany children'soryouthorganizations.
           ( ) Defendantisprohibitedfrom viewing,owning,orpossessingany obscene,pomographic,or
               sexually stim ulating visualorauditory m aterial,including telephone,electronic m edia,
               computerprogram s,orcomputerservices.
     9.      )Thedefendantshallparticipateinamaintenancepolygraphexaminationtopedodically
               investigatethe defendant's com pliance.The polygraph exnm ination shallspecitically address
               onlydefendant'scomplianceornon-compliancewiththespecialconditionsofreleaseandshall
               notlnquire into the facts ofthe pending crim inalcase againstdefendant.The defendantwill
               contdbutetothecostsofservicesrendered(co-payment)basedonabilitytopay oravailability
              ofthird party paym ent.
u.M ay travelto and from :                         ,and m ustnotify PretrialServices oftravelplansbefore
leaving and upon rettum.
v.Com ply w ith the follow ing additionalconditions ofbond:

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                       PEN A LTIES A N D SAN C TIO N S APPLICA BLE TO DEFEND A NT

           Violation ofany oftheforegoing conditionsofreleasemay resultin the imm ediateissuanceofa warrant
    forthe defendant'sarrest,a revocation ofrelease,and orderofdetention,asprovided in 18 U.S.C.j3148,
    forfeitureofanybailposted,and aprosecutionforcontemptasprovidedin 18U.S.C.j401,whichcouldresult
    in apossible tenn ofim prisonm entora fine.

           The commission of any offense while on pretrial release may result in an additional sentence upon
    conviction forsuch offenseto atenu ofimprisonm entofnotmorethan ten years,iftheoffense isafelony;ora
    tenn of im prisonment of not more than one year,if the offense is a m isdem eanor.This sentence shall be
    consecutiveto any othersentence andm ustbeimposed in additiontothe sentencereceived fortheoffenseitself.

            Title18U.S.C.51503makesitafelonycriminaloffensepunishablebyimprisonmentanda$250,000tine
    to intimidateorattempttointimidateawitness,jurororofficerofthecourt;18U.S.C.j1510makesitafelony
    crim inaloffenseplnishableby im prisonmentand a$250,000fineto obstructacrim inalinvestigation'
                                                                                                 ,18 U.S.C.
    51512 makesita felony criminaloffenseplmishable by imprisonmentand a $250,000 fineto tnmperwith a
    witness,victim orinformant;and 18U.S.C.j1513makesitafelonycriminaloffensepunishablebyimprisonment
    anda $250,000fineto retaliateagainstawitness,victim orinformant,orthreaten to do so.

           ltisacriminaloffenseunder18U.S.C.j3146,ifafterhavingbeen released,thedefendantknowingly
    fails to appearas required by the conditions of release,orto surrender forthe service of sentence pursuantto a
    courtorder.lf the defendantwas released in cozm ection w ith a charge of,or while aw aiting sentence,surrender
    forthe service ofa sentence,orappealorcertioraria/er conviction for:

        (1)an offensepulzishableby death,lifeimprisonment,orimprisonmentforatenn offifteen yearsormore
            thedefendantshallbefined notm orethan $250,000 orimprisoned fornotm orethan ten years,orboth;
        (2)an offenseplnishablebyimprisonmentforaterm offiveyearsormore,butlessthan tm eenyears,the
            defendantshallbefined notm orethan $250,000 orimprisoned fornotm orethan fiveyears,orboth;
        (3)any otherfelony,thedefendantshallbefinednotmorethan$250,000orimprisonednotmorethantwo
            years,orboth;
        (4)amisdemeanor,thedefendantshallbefined notmorethan $100,000 orimprisoned notmorethan one
            year,orboth.

           A term ofim prisonm entim posed forfailure to appearorsurrendershallbe consecutive to the sentence of
    imprisonm entforany otheroffense.ln addition,afailureto appearm ayresultin theforfeitureofany bailposted,
    which m eans thatthe defendantw illbe obligated to pay the fullam ountofthe bond,w hich m ay be enforced by
    a11applicable law s ofthe U nited States.




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@                                                                                    DEFENDANT:V XX W ZOXV UG W YXW YIG $
                                                                                     CASENUMBER:7-T.- W OtD 0- G -YCO W
                                                                                     PAG E SIX

                                PENALTIES AN D SAN CTION S APPLICABLE TO SU RETIES
    Violationby thedefendantofany oftheforegoing conditionsofreleasewillresultin an immediateobligationby thestlrety orsureties
    topaythefullmnountofthebond.Forfeitureofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialofficer
    ofany United StatesDistrictCourthavingcognizanceoftheaboveentitledmatteratthethneofsuchbreach,andifthebondisforfeited
    andtheforfeitureisnotsetasideorremittet judgmentmaybeentereduponmotioninsuchUnited StatesDistrictCourtagainsteach
    sttretyjointly and severally fortheamountofthebond,togetherwith interestand costs,and execution maybeissuedandpayment
    secured asprovidedbytheFederalRulesofCrim inalProcedureand otherlawsoftheUnited States.
                                                         SIGN ATURES
    Ihavecarefullyreadand Iunderstandthisentireappearancebond consisting ofsevenpages,orithasbeenreadtom e,and,ifnecessary,
    translated intomynativelanguage,and1krlow that1am obligatedby 1aw tocomply with allofthetermsofthisbond.lpromiseto obey
    a1lconditionsofthisbond,toagpearin courtasrequired,andto surrenderforserviceofany sentence imposed.Iam awareofthe
    penaltiesandsanctionsoutlined m thisbond forviolationsofthetennsofthebond.
    lf1am an agentactingfororonbehalfofacorporatesurety,IfurtherrepresentthatIam aduly authorized agentforthecorporatesurety
    and havef'ullpowertoexecutethisbond in theamountstated.
                                                                         D EFEND AN T
    signedthis5tS'V dayofN JGUSY                                   ,207-% at R t.
                                                                         ,                        ï ,Florida                    ' K-
    Signedandackno ledgedbeforeme:                                           DEFENDANT:(Signature)                              &
    wllwsss:k.
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    Mt            l                  rf
                                      -'u-            '                                          city                          state
           City                              State

                                                                   CO RPOR ATE SUR ETY
    Signedthis              day of                                 ,20        at                        ,Florida
    SURETY:                                                                   AGENT:(Signature)
                                                                              PR INT NAM E:
            City                               State

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    Signedthis      dayof                ,20         at              ,Florida Signedthis          dayof            ,20    at           ,Florida
    SURETY:(Signature)                                                             SURETY:(Signature)
    PR IN T N AM E:                                                            PRINT NAM E:
    REIA TIO NSHTPTO DEFENDAM :                                                RELATIONSH IPTO DEFENDANT:

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